
USCA1 Opinion

	





                                [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT


                                 ____________________

        No. 96-1569

                                 JEREMIAH J. CONNORS,

                                Plaintiff, Appellant,

                                          v.

                            CITY OF BOSTON, TRANSPORTATION
                                 DEPARTMENT, ET AL.,

                                Defendants, Appellees.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                   [Hon. Robert B. Collings, U.S. Magistrate Judge]
                                             _____________________

                                 ____________________

                                        Before

                                  Cyr, Circuit Judge,
                                       _____________

                     Aldrich and Campbell, Senior Circuit Judges.
                                           _____________________

                                 ____________________

            John A. Hanrahan for appellant.
            ________________
            Amy   Spector,  Assistant   Attorney  General,  with   whom  Scott
            _____________                                                _____
        Harshbarger, Attorney General of Massachusetts, Office of the Attorney
        ___________
        General, was  on brief  for appellee,  Personnel Administrator of  the
        Department of Personnel Administration. 
            Elizabeth R. O'Donnell,  Assistant Corporation Counsel,  with whom
            ______________________
        Merita A.  Hopkins,  Corporation  Counsel,  and  Kevin  S.  McDermott,
        __________________                               ____________________
        Assistant Corporation  Counsel, City of Boston Law Department, were on
        brief for appellee, City of Boston, Transportation Department.

                                 ____________________

                                  December 13, 1996
                                 ____________________





















                      Per  Curiam.   After  consideration of  the briefs,
                      ___________

            arguments  and record, we affirm the judgment of the district

            court  for substantially  the  same reasons  set  out in  the

            memorandum and order of the magistrate judge.1

                      Like the magistrate judge,  we can find no property

            interest  in  the  state  position  plaintiff  held  that  is

            sufficient to support a  federal due process claim.   We also

            agree that the Eleventh  Amendment prevents plaintiff, in the

            circumstances, from suing a state administrative  official in

            a  federal forum over the question of an alleged violation of

            the state  civil service law.   Whether and to what  extent a

            state forum is or  would have been available to  plaintiff to

            litigate  any of  his claims  concerning state  civil service

            practices is a matter outside our jurisdiction to consider.

             
















                                
            ____________________

            1.  Pursuant  to  28 U.S.C.     636(c) the  instant  case was
            referred  and  reassigned in  the  district  court, with  the
            parties' consent,  to the magistrate judge  for all purposes,
            including trial and the entry of judgment.

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